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                 IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE WESTERN DISTRICT OF PENNSYLVANIA

   IN RE:

   LARRY FREDERICK and                            Bankruptcy No. 18-70870-JAD
   SHARON FREDERICK,
                                                  Chapter 11
                Joint Debtors,
                                                  Document No.
   LARRY FREDERICK and
   SHARON FREDERICK,                               Related to Doc Nos. 184 and 226


                Movants,

         vs.

   M&T BANK, THE UNITED STATES OF
   AMERICA FARM SERVICE AGENCY,
   CARGILL, INC., SUSQUEHANNA
   COMMERCIAL FINANCE, INC.,
   GROWMARK FS, LLC, FS FINANCIAL
   SERVICES, LLC, WELLS FARGO
   VENDOR FINANCIAL SERVICES, LLC,
   BLAIR COUNTY TAX CLAIM BUREAU,
   PENNSYLVANIA DEPARTMENT OF
   REVENUE, AND THE INTERNAL
   REVENUE SERVICE,

                Respondents.

                    ORDER CONFIRMING SALE OF PROPERTY
                        FREE AND DIVESTED OF LIENS

         This 18th Day of March 2021, on consideration of the Debtors, Larry

   Frederick and Sharon Frederick’s Motion for Sale of Real Property and Personal

   Property Free and Clear of all Liens, Claims and Encumbrances (ECF #184) and

   after a Zoom Hearing on March 16, 2021, regarding said Motion the Court Finds:

         (1) That Eric and Jennifer Frederick have submitted the highest and best

   bid in the amount of $2,220,0000 for the following property: 1098 Frederick
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   Road; 1219 Frederick Road; all of the Debtors’ personal property used in

   connection with the operation of the dairy farm, including but not limited to

   livestock as of the closing date; crops and seeds; and all of the Debtors’ farming

   equipment as of the closing date.

           (2) That service of the Notice of Hearing and Order setting hearing on

   said Motion for Sale of Real Property and Personal Property Free and Clear of all

   Liens, Claims and Encumbrances of the above-named Respondents, was

   effected on the following secured creditors whose liens are recited in said Motion

   for sale, viz:

          DATE OF SERVICE                    NAME OF LIENOR AND SECURITY

          January 27, 2021                   M&T BANK (Mortgage on Real
                                             Property, Security interest in equipment
                                             and livestock per UCC.);

          January 27, 2021                   THE UNITED STATES OF AMERICA
                                             FARM SERVICE AGENCY (Security
                                             interest in equipment and livestock per
                                             UCC.);

          January 27, 2021                   CARGILL, INC. (Potential           security
                                             interest in equipment.);

          January 27, 2021                   SUSQUEHANNA COMMERCIAL
                                             FINANCE, INC. (Potential security
                                             interest in equipment.);

          January 27, 2021                   GROWMARK FS, LLC (security interest
                                             in personal property.);

          January 27, 2021                   FS FINANCIAL SERVICES, LLC
                                             (security interest in personal property.);

          January 27, 2021                   WELLS FARGO VENDOR FINANCIAL
                                             SERVICES, LLC (Potential security
                                             interest in equipment.);



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         January 27, 2021                    BLAIR COUNTY TAX CLAIM BUREAU
                                             (Potential tax claim.);

         January 27, 2021                    PENNSYLVANIA DEPARTMENT OF
                                             REVENUE (Potential tax claim.);

         January 27, 2021                    INTERNAL REVENUE SERVICE
                                             (Potential tax claim.)


         (3) That sufficient general notice of said hearing and sale, together with

   the confirmation hearing thereon, was given to the creditors and parties in

   interest by the Movants as shown by the Certificate of Service duly filed and that

   the named parties were duly served with the Motion.

         (4)    That said sale hearing was duly advertised on the Court’s website

   pursuant to W.PA.LBR 6004-(c) on February 18, 2021, in the Blair County Legal

   Bulletin on February 25, 2021, in the Morrisons Cove Herald on February 25,

   2021 and March 4, 2021, in the Lancaster Farming Newspaper on February 27,

   2021 and March 6, 2021, and in the Altoona Mirror on February 22, 2021, as

   shown by the Proof of Publications duly filed.

          (5)   That the price of $2,220,000.00 is a full and fair price for the

   property in question.

         (6)    That the purchaser is acting in good faith with respect to the within

   sale in accordance with In re: Abbotts Dairies of Pennsylvania, Inc., 788 F.2d

   143 (3d Cir. 1986).

         IT IS ORDERED, ADJUDGED AND DECREED that the private sale by

   (Warranty) deed of the real property described in the Motion as a.) 1098 Frederick

   Road, Martinsburg, PA 16662; Blair County Map Number: 20.00-09.-009.00-000;



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   Acreage: 161.320; b.) 1219 Frederick Road, Martinsburg, PA 16662; Blair County

   Map Number: 20.00-09.-008.00-000; Acreage: 66.74; (full legal descriptions are

   attached as Exhibit A to the January 26, 2021 Purchase and Sale Agreement

   between the Debtors and Eric and Jennifer Frederick which Purchase and Sale

   Agreement is attached to the Sale Motion as Exhibit C) and by Bill of Sale of the

   Personal Property identified in the Motion for Sale is hereby confirmed to Eric and

   Jennifer Frederick free and divested of the liens herein described; and, that Larry

   and Sharon Frederick (Movants), shall make, execute and deliver to the

   purchasers above named the necessary deed and/or other documents required to

   transfer the title to the property purchased upon compliance with the terms of sale.

          IT IS FURTHER ORDERED that the liens, claims and interests of all

   Respondents with the exception of Growmark FS, LLC and FS Financial Services,

   LLC (collectively “Growmark”), including, but not limited to M&T Bank; The United

   States of America Farm Service Agency; Cargill, Inc.; Susquehanna Commercial

   Finance, Inc.; Growmark FS, LLC; FS Financial Services, LLC; Wells Fargo

   Vendor Financial Services, LLC;          Blair County Tax Claim Bureau; The

   Pennsylvania Department of Revenue, and The Internal Revenue Service, be, and

   they hereby are, divested from the property being sold, and if and to the extent

   they may be determined to be valid liens against the sold property, transferred to

   the proceeds of sale in accordance with their priority, and that the within decreed

   sale shall be free, clear and clear and divested of said liens, claims and interests,

   except for the lien of Growmark on the personal property sold to the purchaser.




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          FURTHER ORDERED that per the Stipulation and Consent Order

   Resolving Limited Objection to Joint Debtors’ Motion for Sale of Real Property and

   Personal Property Free and Clear of All Liens, Claims and Encumbrances (ECF

   #225) (the “Growmark Stipulation”), the terms of which are incorporated into this

   Order, Growmark’s lien in the personal property shall remain in the amount of

   $65,000, which shall be paid to Growmark by Eric and Jennifer Frederick in 65

   equal monthly payments of $1,000 per month at 0% interest.

          FURTHER ORDERED that after due notice to the claimants, lien creditors,

   and interest holders, and no objection on their parts having been made or, if

   made, resolved/overruled, the incidental and related costs of sale shall be paid in

   in advance of any distribution to said lien creditors.

          FURTHER ORDERED that applicable real estate taxes and ordinary

   closing costs and municipal lien claims, shall immediately be paid at closing.

   Failure of the closing agent to timely make disbursement required by this Order

   will subject the closing agent to monetary sanctions after notice and hearing.

          FURTHER ORDERED that, in accordance with the Growmark Stipulation,

   Growmark shall immediately be paid $55,000 at closing.

          FURTHER ORDERED that, in accordance with the Stipulation and

   Consent Order Settling Contested Matters Between the Debtors and M&T Bank

   and Establishing Asset Sale Process (ECF #212) (the “M&T Bank and FSA

   Stipulation”), the terms of which are incorporated into this Order, FSA and then

   M&T Bank shall immediately be paid at closing the remaining cash sale proceeds

   (after the $55,000 payment to Growmark and the incidental and related costs of



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   sale) up to the full amount of their allowed secured claims on the assets being

   sold.

           FURTHER ORDERED that the Movant shall serve a copy of the within

   Order on each Respondent (i.e., each party against whom relief is sought) and its

   attorney of record, if any, upon any attorney or party who answered the motion or

   appeared at the hearing, the attorney for the debtor, the purchaser, and the

   attorney for the purchaser, if any, and file a certificate of service.

           FURTHER ORDERED that closing shall occur within thirty (30) days of

   this Order and the Movant shall file a Report of Sale within seven (7) days

   following closing.

           FURTHER ORDERED that this Sale Order survives any dismissal or

   conversion of the within case.




   Date:         3/19/2021
                                               JEFFERY A. D DELLER
                                                              ELLER
                                               United States Bankruptcy Court Judge




                                                                   FILED
                                                                   3/19/21 9:14 am
                                                                   CLERK
                                                                   U.S. BANKRUPTCY
                                                                   COURT - :'3$




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